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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                  SAN ANTONIO DIVISION


 LOGAN PAUL,

                               Plaintiff,
        v.
                                                          Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                               Defendants.


  REPLY IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF
     COMMUNICATIONS RELEVANT TO DEFENDANTS’ ACTUAL MALICE

       In this defamation action, Defendants have invoked Texas’s statutory, qualified journalist

privilege to refuse to produce any non-public documents whatsoever that would reflect on their

state of mind and knowledge at the time of publication—i.e., evidence relevant to actual malice.

While there is limited case law interpreting the Texas statute—particularly in this context where

the journalist invoking it is not a third-party subpoena recipient but a named defendant in a

defamation action—the Texas Court of Appeals has specifically noted, in this context, that the

statute is not intended to “foreclose the prosecution of a defamation suit,” but in fact aims to

“assure that the defamed person ha[s] opportunity to garner necessary evidence.” Abraham v.

Greer, 509 S.W.3d 609, 616 (Tex. App. 2016). This construction is in accord with that of courts

across the country, interpreting similar qualified privilege statutes, and recognizing that they are

not intended to bar a defamation plaintiff from securing necessary evidence bearing on a

defendant’s actual malice. See, e.g., News-Journal Corp. v. Carson, 741 So. 2d 571, 576 (Fla. 5th

DCA 1999) (holding that a qualified journalist privilege “must give way” if it “has the effect of

making proof of [fault] impossible”); Aequitron Med., Inc. v. CBS, Inc., No. 93-cv-950, 1995 WL


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406157, at *3 (S.D.N.Y. July 10, 1995) (holding that “the [New York journalist] privilege is not

as strictly enforced when the news entity is a defendant in a defamation or libel case” because “[i]t

would be unfair for a media defendant in … a defamation case to resist discovery on a basic issue

such as knowledge”); Cent. N.J. Jewish Home for the Aged v. N.Y. Times Co., 444 A.2d 80, 84

(N.J. Super. Ct. 1981) (rejecting media defendant’s effort to shield discovery because “[i]n many

cases of actionable libel, denying the right to such discovery will effectively deny plaintiff a

remedy”); Dangerfield v. Star Editorial, Inc., 817 F. Supp. 833, 836 (C.D. Cal. 1993) (“In the

context of a civil libel action … courts have noted that the balance shifts somewhat more in favor

of disclosure when the privilege is asserted by a media defendant.”).

       Plaintiff Logan Paul’s Motion to Compel seeks crucial evidence of actual malice; namely,

he seeks to discover which of his own communications regarding the CryptoZoo project

Defendants possessed at the time of publication—because those communications will reflect

Paul’s contemporaneous actions, intentions, and good-faith, and put the lie to Defendants’

repeated, malicious accusation that Paul conceived of the project as nothing more than a fraudulent

scam.1 Defendants’ Response to Paul’s Motion to Compel [Dkt. 32] seeks to confuse the issues

and relevant legal standards applicable to Paul’s Motion by conflating the specific standards of

Texas’s statutory, qualified privilege, set forth in Tex. Civ. Prac. & Rem. Code § 22.024, with the

separate—and separately focused—First Amendment privilege described in Miller v.

Transamerican Press, Inc., 621 F.2d 721, supplemented on denial of reh’g, 628 F.2d 932 (5th Cir.

1980), in a transparent effort to hold Paul to some higher, amalgamated standard that does not

exist. Importantly, most (if not all) of the materials sought in Paul’s Motion will implicate only




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 They will also suggest how Defendants hid that information from their viewers, as juxtaposed
against the few communications that they presented misleadingly and out of context in their videos.

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the Texas standard, which Paul has more than satisfied. And while it is unclear that Defendants

even possess any communications that might implicate the First Amendment standard—they do

not say one way or the other—as set forth below, that standard would also be overcome as to that

(small, if even existent) subset of materials.

A.      The Notion that Paul’s Motion is Focused on Unveiling Confidential Sources is a Red
        Herring.

        Defendants devote much of their Response to harping on the faulty premise that Paul’s

Motion is a disguised effort to ferret out the identities of Defendants’ confidential sources for their

YouTube videos about Paul and CryptoZoo. The reason Defendants do so is that they seek to

require Paul to overcome both the Texas qualified privilege, which applies to newsgathering

materials generally and includes no distinct—much less, higher—standard for disclosure of

confidential sources, and the separate First Amendment privilege, which only applies in certain

contexts involving the identity of confidential sources. Put differently, if a plaintiff is not directly

seeking the disclosure of a confidential source, then the First Amendment privilege has no

applicability. (See Response ¶¶ 16-17 (acknowledging that the First Amendment privilege shields

only disclosure of a confidential source).)

        Fundamentally, Paul’s Motion seeks an order requiring Defendants to disclose

communications to which Paul was party that Defendants possessed at the time of publication of

the defamatory statements at issue. It does not broadly seek the identity of the person(s) who

provided such communications to Defendants. Defendants would have this Court believe that

those are one and the same requests, but they are not. For example, production of any text chain

communications that include Paul and more than one other person would not inherently reveal the

identity of Defendants’ source, because any of the multiple participants on the text chain could




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have been the source.2 These are exactly the types of communications that Paul believes to be at

issue, and Defendants’ Response appears to confirm this to be the case, as it refers only to

Defendants having received from sources “group text message conversations” involving Paul. (S.

Findeisen Decl. ¶ 7 [Dkt. 32-1].)

       Tacitly recognizing that production of a group text chain does not inherently reveal who

provided Defendants with said text chain, Defendants then appear to argue that it is possible that

the way chain text messages present visually can, in some instances, reveal which participant’s

phone that copy of the text chain came from. (See Response ¶ 26.) While Defendants present this

to the Court as a problem without a solution, the reality is that Defendants have a solution and

have utilized it in the videos that gave rise to this case. As set forth in the Motion, the reason Paul

knows that Defendants possess at least some group text communications involving Paul and

relating to CryptoZoo is that Defendants displayed some of those text messages in their publicly

published YouTube videos. Since filing his Motion, Paul has learned via third-party discovery

how Defendants were able to do that without concern about revealing to viewers who provided the

group text chains to Defendants. It turns out that Defendant Findeisen knows how to “anonymize”

a text chain so that the placement or color of messages within the chain does not suggest which

participant’s phone the message came from, and that he did just that for the source who provided

him with the group text chain he featured in his videos. (See Exhibit 1 at MELLINA_00000731-

32 (Defendant Findeisen explaining to his source that he had modified the text chain she provided

so that she would be “invisible” as far as it revealing texts were “originating” from her phone).)

This newly discovered information puts the lie to the premise that underlies Defendants’ entire



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  The same is true of multi-party email communications. And to the extent the source forwarded
the email to Defendants, that forward could simply be redacted to obscure the identity of the
sender.

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argument; namely, that producing group communications in their possession cannot be done

without revealing the identity of the individuals that provided them to Defendants.

B.      Texas’s Qualified Journalist Privilege is Overcome as to the Highly Relevant
        Materials Sought in Paul’s Motion.

        As set forth above, with respect to any communications involving Paul and more than one

other participant Paul need only satisfy the statutory standard set forth in Tex. Civ. Prac. & Rem.

Code § 22.024. Of the six statutory requirements for overcoming an assertion of the qualified

journalist privilege, Defendants only challenge whether Paul can satisfy three of them:

(1) exhaustion of reasonable efforts to obtain the information from alternative sources; (2) the

information is relevant and material to the proper administration of the case and is essential to the

maintenance of a claim of the person seeking it; and (3) that Paul’s interest in discovery outweighs

Defendants’ interest in resisting discovery.3 As set forth in his Motion, Paul readily satisfies these

criteria.

        As to “reasonable” exhaustion of discovery from alternative “sources,” i.e. from persons

other than the Defendants, see Tex. Civ. Prac. & Rem. Code § 22.024(1), because Defendants are

refusing to disclose what communications they have or who provided them to Defendants, Paul

has no alternative other than to attempt to subpoena every single one of the hundreds of people he

ever communicated with about CryptoZoo.            That is patently unreasonable.      And although

Defendants themselves are not an “alternative source[]” within the meaning of the statute,4

Defendants also point to a convoluted proposal that would require Paul to first identify “key dates”


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  Defendants also argue that Paul was required to present “evidence of falsity” of Defendants’
statements, but that requirement arises under the First Amendment privilege regarding confidential
sources, not the Texas statute. (See Resp. ¶¶ 36).
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  For the same reasons, Defendants’ argument that Paul can depose them to obtain the information
makes no sense. The qualified privilege that Defendants have invoked applies to document
discovery and testimony, and thus absent a ruling that the privilege is overcome here, Defendants
surely will invoke it in their depositions just as they have invoked it to refuse to provide documents.

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for communications he is interested in, and Defendants to then attempt to “identify any such

messages by reference to [Plaintiff’s] production by bates number.” (C. Small Decl. ¶ 4 [Dkt. 32-

2].) But Paul communicated with many, many people about CryptoZoo over an extended period.

The core issue here is that he has no idea which of those communications Defendants possess or

from what timeframe, and it is also remotely possible that Defendants possess communications

that are not in Paul’s production. Discovery—particularly when it comes to highly relevant

materials relating to the core issue of actual malice—is not supposed to be a game of “Battleship.”5

If the privilege is overcome, and it is, the documents should be produced.6

       With respect to Paul’s need for the communications at issue, Defendants resort to arguing

the merits of Paul’s defamation claims and protesting that the statements at issue are protected

opinion. (Resp. ¶ 45.) But nothing in the Texas statute suggests that a discovery dispute about the

qualified privilege hinges on, or in any way directs a Court to consider, the ultimate likelihood of

success of a plaintiff’s claim on the merits—particularly in a case where, as here, Defendants never

filed a motion to dismiss and thus tacitly conceded that Paul has alleged a plausible case of falsity

and actual malice.    Regardless, as to Defendants’ argument that it is “debatable” that the

communications Paul seeks could help to “exculpate” him (Resp. ¶ 44), the attached Declaration

of Mr. Paul addresses that argument as well by demonstrating how the one group text chain

Defendants are already known to have possessed helps put the lie to Defendants’ false claims that

the CryptoZoo project was an effort by Paul to scam and defraud. (Declaration of Logan Paul (Feb.



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  Defendants also strangely claim in Footnote 6 of their Response that Paul does not identify the
communications at issue on Defendants’ privilege log. That argument is beyond disingenuous, as
Defendants well know that their threadbare privilege log does not provide any descriptions of the
thousands of documents on it, making it absolutely impossible to tell what any of the materials on
their log are, let alone to attempt to identify specific communications.
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  Paul is amenable to any group communications being “anonymized” in the same fashion
Defendants did for the text chains displayed in their videos.

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10, 2025.) Finally, as to the balancing of interests, the only interest Defendants claim is protection

of confidential sources, which is not implicated as to any group communications. (See Resp. ¶¶

47-48.)

C.        The First Amendment Privilege is Overcome as to Any Bilateral Communications.

          Finally, although the separate First Amendment privilege standard is not applicable to the

communications that Paul believes to be largely at issue, to the extent Defendants do possess

bilateral communications between Paul and only one other person, they should be compelled to

produce them as well. While it is true that production of such communications would, unlike

group communications, necessarily disclose the identity of the source that provided the

communication to Defendants, disclosure of such communications is warranted because Paul can

meet the three-part test for overcoming the confidential source privilege set out in Miller, if it even

applies to the circumstances here (and Defendants themselves appear to suggest otherwise).7

          Where disclosure is sought that would reveal a confidential source, the First Amendment

test from Miller may add an additional requirement to the Texas statutory test; namely, that the

plaintiff must present evidence that the statement at issue was published, and that it is false and

defamatory. Miller II, 628 F.2d at 932. Defendants do not dispute that the libelous statements at

issue in this case were published by Defendants; they do, however, argue that Paul has not come

forward with evidence (as opposed to argument) that their statements accusing him of operating a



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  Notably, Defendants argue that the rule from Miller (and In re Selcraig, 705 F.2d 789, 792 (5th
Cir. 1983)) is that the plaintiff faces a heightened burden to uncover the identity of a confidential
source where the plaintiff asserts that “the statement attributed to the informant was published
and is factually untrue and defamatory”). (Resp. ¶¶ 36-37 (emphasis added) (citing Miller, 621
F.2d at 725; Selcraig, 705 F.2d at 792).) Here, Paul is not seeking the identity of any source
because he believes the source made a defamatory statement that Defendants republished—i.e.,
he is not seeking to hold a source accountable or liable for defamation. He simply seeks any of
his own communications that Defendants received from a source because they are exculpatory as
to the statements Defendants themselves made.

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scam are false. (See Resp. ¶¶ 36-37.) Defendants specifically cite a lack of an affidavit to that

effect, perhaps recognizing that in Miller the Fifth Circuit affirmed the district court’s holding that

an affidavit from the plaintiff sufficed to establish falsity of the statements for purposes of ordering

disclosure. See Miller, 621 F.2d at 723. Addressing that argument, attached hereto is a declaration

from Paul, attesting in detail to the falsity of Defendants’ statements, and explaining why there is

substantial reason to believe that the communications at issue in Paul’s Motion will provide

compelling evidence that Defendants knew their statements to be false when they published them.

With that, as the Fifth Circuit explicitly held in Miller, “the [qualified First Amendment] privilege

is not absolute, and in a libel case as is here presented, it must yield.” Id. at 725.

                                          CONCLUSION

        This Court should order Defendants to promptly produce the Subject Communications at

issue in Paul’s Motion to Compel.


February 10, 2025                               /s Andrew C. Phillips
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the February 10, 2025, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel

of record who are deemed to have consented to electronic service.

                                                      /s Andrew C. Phillips




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